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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


HOPE ELLY AND JOHN SMITH                                                              PLAINTIFFS

VS.                                               CIVIL ACTION NO.: 3:19-CV-119-DPJ-FKB

MAGNOLIA HILL, LLC AND
CHURCHILL DOWNS INCORPORATED                                                        DEFENDANTS

                            AGREED JUDGMENT OF DISMISSAL
                                   WITH PREJUDICE

       THIS MATTER CAME ON for hearing by the Court on the joint motion, ore tenus, of

the Plaintiffs, Hope Elly and John Smith, (“Plaintiffs”) by and through their counsel, and the sole

remaining Defendant, Magnolia Hill, LLC, (“Defendant”) for entry of an Agreed Judgment of

Dismissal With Prejudice. The Court, having been advised that Plaintiffs wish to dismiss their

claims against Defendant with prejudice, finds that the motion is well-taken and should be

granted. As such, the Court does hereby enter this Agreed Judgment of Dismissal With

Prejudice and, through it, hereby dismisses all claims and causes of action by Plaintiffs in this

suit against Defendant, and the suit in its entirety, with prejudice and without any award of costs,

interest, or attorney’s fees. All parties are to bear their own costs and attorney fees.

       SO ORDERED AND ADJUDGED this the 29th day of April, 2020.

                                               s/ Daniel P. Jordan III
                                               CHIEF UNITED STATES DISTRICT JUDGE




                          [ATTORNEY SIGNATURES ON NEXT PAGE]




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